                                                                                     TERMED,APPEAL
                        U.S. District Court
                 Southern District of Iowa (Eastern)
      CRIMINAL DOCKET FOR CASE #: 3:20−cr−00093−SMR−SBJ All
                            Defendants
                         Internal Use Only

Case title: USA v. Treanton                                 Date Filed: 09/08/2020

                                                            Date Terminated: 02/28/2022

Assigned to: Chief Judge Stephanie M.
Rose
Referred to: Magistrate Judge Stephen
B. Jackson, Jr

Defendant (1)
Justin Treanton                            represented by Jack E. Dusthimer
TERMINATED: 02/28/2022                                    ATTORNEY AT LAW, JACK E.
                                                          DUSTHIMER
                                                          1503 BRADY STREET
                                                          DAVENPORT, IA 52803
                                                          563−323−8344
                                                          Fax: 563−323−7452
                                                          Email: JDUSTHIMER@yahoo.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: CJA Appointment

                                                        Diane Z. Helphrey
                                                        FEDERAL PUBLIC DEFENDER
                                                        101 W SECOND STREET
                                                        SUITE 401
                                                        DAVENPORT, IA 52801
                                                        563 322 8931
                                                        Fax: 563 383 0052
                                                        Email: diane_helphrey@fd.org
                                                        TERMINATED: 11/18/2020
                                                        Designation: Public Defender or Community
                                                        Defender Appointment

                                                        Eric D Tindal
                                                        KEEGAN TINDAL & MASON
                                                        103 EAST COLLEGE STREET
                                                        SUITE 312
                                                        IOWA CITY, IA 52240
                                                        319−887−6900
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 Appellate Case: 22-1476         Page: 1                                         March 7 2022 p1
                                              Date Filed: 03/08/2022 Entry ID: 5134082
                                                     Email: eric@keeganlegal.com
                                                     TERMINATED: 12/03/2020
                                                     Designation: CJA Appointment

                                                     Murray W Bell
                                                     ATTORNEY AT LAW, MURRAY W. BELL
                                                     2435 KIMBERLY ROAD
                                                     SUITE 235 SOUTH
                                                     BETTENDORF, IA 52722
                                                     563 326 4095
                                                     Fax: 563−594−5180
                                                     Email: mwbell@kirkwoodlaw.com
                                                     TERMINATED: 09/21/2021
                                                     Designation: CJA Appointment

Pending Counts                                       Disposition
                                                     600 months of incarceration, consisting of 360
                                                     months as to Count 1 and 240 months as to
SEXUAL EXPLOITATION OF
                                                     Count 4, to be served consecutively. A lifetime
CHILDREN − 18:2251(a), 2251(e) −
                                                     term of supervised release to follow as to each
Production of Child Pornography
                                                     of Counts 1 and 4, to be served concurrently.
(1)
                                                     $200 Special Assessment ($100 per count).
                                                     Restitution in the amount of $6,000.
                                                     600 months of incarceration, consisting of 360
ACTIVITIES RE MATERIAL
                                                     months as to Count 1 and 240 months as to
CONSTITUTING/CONTAINING
                                                     Count 4, to be served consecutively. A lifetime
CHILD PORNO − 18:2252(a)(4)(B),
                                                     term of supervised release to follow as to each
2252(b)(2) − Possession of Child
                                                     of Counts 1 and 4, to be served concurrently.
Pornography
                                                     $200 Special Assessment ($100 per count).
(4)
                                                     Restitution in the amount of $6,000.

Highest Offense Level (Opening)
Felony

Terminated Counts                                    Disposition
SEXUAL EXPLOITATION OF
CHILDREN − 18:2251(a), 2251(e) −
                                                     Dismissed on Government's Motion.
Production of Child Pornography
(2)
ACTIVITIES RE MATERIAL
CONSTITUTING/CONTAINING
CHILD PORNO − 18:2252(a)(2),
                                                     Dismissed on Government's Motion.
2252(b)(1) − Receiving and
Distributing Child Pornography
(3)

Highest Offense Level (Terminated)


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Felony

Complaints                                            Disposition
None



Plaintiff
USA                                         represented by Andrea Leigh Glasgow
                                                           UNITED STATES ATTORNEY'S
                                                           OFFICE − DAV
                                                           131 East 4th Street
                                                           Suite 310
                                                           Davenport, IA 52801
                                                           563−449−5440
                                                           Fax: 563−449−5433
                                                           Email: andrea.glasgow@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Government − Federal

                                                           Craig P. Gaumer
                                                           UNITED STATES ATTORNEY'S
                                                           OFFICE − DSM
                                                           110 E COURT AVE
                                                           SUITE 286
                                                           DES MOINES, IA 50309
                                                           515−473−9300
                                                           Fax: 515−473−9292
                                                           Email: craig.gaumer@USDOJ.GOV
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Government − Federal

 Date Filed   #   Page Docket Text
 09/09/2020            Judge update in case as to Justin Treanton. Judge Stephanie M. Rose and
                       Magistrate Judge Stephen B. Jackson, Jr added. (dmh) (Entered: 09/09/2020)
 09/09/2020   1        SEALED INDICTMENT as to Justin Treanton on Counts 1, 2, 3, and 4. (dmh)
                       (Entered: 09/10/2020)
 09/09/2020   2        REDACTED INDICTMENT filed by USA as to Justin Treanton. (dmh)
                       (Entered: 09/10/2020)
 09/09/2020   3        TEXT Minute Entry for proceedings held before Magistrate Judge Stephen B.
                       Jackson, Jr: Grand Jury Presentment as to Justin Treanton held on 9/9/2020.
                       AUSA present Melisa K. Zaehringer. Secret. Warrant to be issued. Government
                       requested detention. CRD: D. Hanghian. Time in Court 4:58−5:02 pm. (Court
                       Reporter None.) (dmh) (Entered: 09/10/2020)
 09/14/2020   5        TEXT ORDER as to Justin Treanton. Arraignment and Initial Appearance set
                       for September 15, 2020 at 11:15 AM in Davenport − Room 242 − 2nd Floor −


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                    Video Proceeding before Magistrate Judge Stephen B. Jackson Jr.. Signed by
                    Magistrate Judge Stephen B. Jackson, Jr. on 9/14/2020. (cmb) (Entered:
                    09/14/2020)
09/15/2020          Arrest of Justin Treanton. (sml) (Entered: 09/15/2020)
09/15/2020          Case unsealed as to Justin Treanton. (sml) (Entered: 09/15/2020)
09/15/2020    6     Minute Entry for proceedings held before Magistrate Judge Stephen B. Jackson,
                    Jr: Initial Appearance as to Defendant Justin Treanton held on 9/15/2020.
                    Attorney Diane Helphrey for defendant. Detention Hearing set for 9/18/2020
                    11:30 AM in Davenport − Room 242 − 2nd Floor − Video Proceeding before
                    Magistrate Judge Stephen B. Jackson Jr. (Court Reporter FTR Gold − 242.)
                    (sml) (Entered: 09/15/2020)
09/15/2020    7     CJA 23 Financial Affidavit as to Justin Treanton. (sml) (Entered: 09/15/2020)
09/15/2020    8     ORDER FOR APPOINTMENT OF COUNSEL as to Justin Treanton. Signed
                    by Magistrate Judge Stephen B. Jackson, Jr. on 9/15/2020. (sml) (Entered:
                    09/15/2020)
09/15/2020    9     Minute Entry for proceedings held before Magistrate Judge Stephen B. Jackson,
                    Jr: Arraignment as to Justin Treanton on Counts 1−4 held on 9/15/2020. (Court
                    Reporter FTR Gold − 242.) (sml) (Entered: 09/15/2020)
09/15/2020   10     TEXT ORDER SETTING TRIAL as to Justin Treanton: Jury Trial set for
                    10/26/2020 09:00 AM in Davenport − Room 120 − 1st Floor before Judge
                    Stephanie M. Rose. Discovery Deadline 9/29/2020. Reciprocal Discovery due
                    by 10/5/2020. Pretrial Motion Deadline 10/5/2020. Plea Notification due by
                    10/5/2020. Plea Entry due by 10/13/2020. Signed by Magistrate Judge Stephen
                    B. Jackson, Jr. on 9/15/2020. (sml) (Entered: 09/15/2020)
09/15/2020   11     ORAL MOTION for Detention by USA as to Justin Treanton. Motion referred
                    to Stephen B. Jackson, Jr. (sml) (Entered: 09/15/2020)
09/15/2020   12     ORDER OF TEMPORARY DETENTION as to Justin Treanton. Detention
                    Hearing set for 9/18/2020 11:30 AM in Davenport − Room 242 − 2nd Floor −
                    Video Proceeding before Magistrate Judge Stephen B. Jackson Jr. Signed by
                    Magistrate Judge Stephen B. Jackson, Jr. on 9/15/2020. (sml) (Entered:
                    09/15/2020)
09/15/2020   13     NOTICE OF ATTORNEY APPEARANCE: FPD Diane Z. Helphrey appearing
                    for Justin Treanton (Helphrey, Diane) (Entered: 09/15/2020)
09/17/2020   14     WAIVER of Detention Hearing as to Justin Treanton. (Helphrey, Diane)
                    (Entered: 09/17/2020)
09/18/2020   15     ORDER granting 11 Motion for Detention as to Justin Treanton (1). Signed by
                    Magistrate Judge Stephen B. Jackson, Jr. on 9/18/2020. (rav) (Entered:
                    09/18/2020)
09/18/2020   16     Bail/Bond Report (Sealed) as to Justin Treanton. (Johnson, Jennifer) (Entered:
                    09/18/2020)
09/28/2020   17     STIPULATED DISCOVERY AND PROTECTIVE ORDER as to Justin
                    Treanton. Signed by Magistrate Judge Stephen B. Jackson, Jr. on 9/28/2020.
                    (cmb) (Entered: 09/28/2020)

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10/14/2020   18     Unresisted MOTION to Continue Trial , Pretrial Motion Deadline and Plea
                    Entry Deadline as to Justin Treanton. Motions referred to Stephen B. Jackson,
                    Jr. (Helphrey, Diane) (Entered: 10/14/2020)
10/15/2020   19     ORDER granting 18 Unresisted Motion to Continue Trial as to Justin Treanton.
                    Jury Trial is set for 2/1/2021 at 09:00 AM in Davenport − Room 120 − 1st
                    Floor before Judge Stephanie M. Rose. Pretrial Motion Deadline 1/4/2021. Plea
                    Notification due by 1/11/2021. Plea Entry due by 1/19/2021. Signed by Judge
                    Stephanie M. Rose on 10/15/2020. (mkh) (Entered: 10/15/2020)
11/18/2020   21     MOTION for Withdrawal of Attorney Due to Conflict as to Justin Treanton.
                    Motions referred to Stephen B. Jackson, Jr. (Helphrey, Diane) (Entered:
                    11/18/2020)
11/18/2020   22     TEXT ORDER granting 21 Defendant's Motion to Withdraw as Counsel Due to
                    Conflict as to Justin Treanton. Attorney Helphrey withdrawn from case as to
                    Justin Treanton. The clerk should appoint substitute CJA counsel to represent
                    Defendant. Signed by Magistrate Judge Stephen B. Jackson, Jr. on 11/18/2020.
                    (cmb) (Entered: 11/18/2020)
11/18/2020          ***CJA Attorney Appointment accepted by Attorney Eric D. Tindal for Justin
                    Treanton. Attorney Diane Z. Helphrey terminated. (rav) (Entered: 11/18/2020)
11/18/2020   23     NOTICE OF ATTORNEY APPEARANCE: CJA Counsel Eric D Tindal
                    appearing for Justin Treanton (Tindal, Eric) (Entered: 11/18/2020)
11/20/2020   24     STIPULATED DISCOVERY AND PROTECTIVE ORDER as to Justin
                    Treanton. Signed by Magistrate Judge Stephen B. Jackson, Jr. on 11/20/2020.
                    (cmb) (Entered: 11/20/2020)
12/01/2020   25     MOTION for Withdrawal of Attorney Due to Discovered Conflict as to Justin
                    Treanton. Motions referred to Stephen B. Jackson, Jr. (Tindal, Eric) (Entered:
                    12/01/2020)
12/02/2020   26     TEXT ORDER granting 25 Defendant's Motion to Withdraw as Counsel as to
                    Justin Treanton. The clerk may terminate Attorney Tindal's appearance. The
                    clerk should appoint substitute CJA counsel to represent Defendant. Signed by
                    Magistrate Judge Stephen B. Jackson, Jr. on 12/2/2020. (cmb) (Entered:
                    12/02/2020)
12/03/2020          ***CJA Attorney Appointment accepted by Attorney Murray W. Bell for Justin
                    Treanton. Attorney Eric D. Tindal terminated. (rav) (Entered: 12/03/2020)
12/07/2020   27     NOTICE OF ATTORNEY APPEARANCE: CJA Counsel Murray W Bell
                    appearing for Justin Treanton (Bell, Murray) (Entered: 12/07/2020)
12/08/2020   28     STIPULATED DISCOVERY AND PROTECTIVE ORDER as to Justin
                    Treanton. Signed by Magistrate Judge Stephen B. Jackson, Jr. on 12/7/2020.
                    (cmb) (Entered: 12/08/2020)
01/10/2021   29     Second MOTION to Continue Trial (Un−resisted by the Government) as to
                    Justin Treanton. Motions referred to Stephen B. Jackson, Jr. (Bell, Murray)
                    (Entered: 01/10/2021)
01/13/2021   30     ORDER granting 29 Unresisted Motion to Continue Trial as to Justin Treanton.
                    Jury Trial is set for 3/29/2021 at 09:00 AM in Davenport − Room 242 − 2nd


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                    Floor before Judge Stephanie M. Rose. Pretrial Motion Deadline 3/1/2021. Plea
                    Notification due by 3/8/2021. Plea Entry due by 3/15/2021. Signed by Judge
                    Stephanie M. Rose on 1/13/2021. (mkh) (Entered: 01/13/2021)
03/10/2021   31     Second MOTION to Continue Trial (Un−resisted by the Government) as to
                    Justin Treanton. Motions referred to Stephen B. Jackson, Jr. (Bell, Murray)
                    (Entered: 03/10/2021)
03/11/2021   32     ORDER granting 31 Unresisted Motion to Continue Trial as to Justin Treanton.
                    Jury Trial is set for 6/7/2021 at 09:00 AM in Davenport − Room 242 − 2nd
                    Floor before Judge Stephanie M. Rose. Pretrial Motion Deadline 5/10/2021.
                    Plea Notification due by 5/17/2021. Plea Entry due by 5/24/2021. Signed by
                    Judge Stephanie M. Rose on 3/11/2021. (mkh) (Entered: 03/11/2021)
04/01/2021   33     First MOTION to Suppress Statement and all evidence found as a result of and
                    based upon those statements as to Justin Treanton. Responses due by 4/8/2021.
                    (Attachments: # 1 Brief in Support Brief in support of Motions to
                    suppress)(Bell, Murray) (Entered: 04/01/2021)
04/08/2021   34     *SEALED* RESPONSE in Opposition/Resistance by USA as to Justin
                    Treanton re 33 First MOTION to Suppress Statement and all evidence found as
                    a result of and based upon those statements Replies due by 4/15/2021.
                    (Glasgow, Andrea) Modified on 6/4/2021 to Seal per Court (kmc). (Entered:
                    04/08/2021)
04/19/2021   35     TEXT ORDER as to Justin Treanton. A Motion Hearing re 33 First MOTION
                    to Suppress Statement and all evidence found as a result of and based upon
                    those statements is set for 6/4/2021 at 02:00 PM in Davenport − Room 120 −
                    1st Floor before Judge Stephanie M. Rose. Signed by Judge Stephanie M. Rose
                    on 4/19/2021. (mkh) (Entered: 04/19/2021)
05/17/2021   36     Third MOTION to Continue Trial and pending deadlines, Un−Resisted by the
                    Government as to Justin Treanton. Motions referred to Stephen B. Jackson, Jr.
                    (Bell, Murray) (Entered: 05/17/2021)
05/17/2021   37     Third MOTION to Continue Trial Amended motion to continue trial and
                    pending deadlines, un−resisted by Government as to Justin Treanton. Motions
                    referred to Stephen B. Jackson, Jr. (Bell, Murray) (Entered: 05/17/2021)
05/18/2021   38     ORDER granting 37 Unresisted Motion to Continue Trial as to Justin Treanton.
                    Jury Trial is set for 10/18/2021 at 09:00 AM in Davenport − Room 120 − 1st
                    Floor before Judge Stephanie M. Rose. Pretrial Motion Deadline 9/20/2021.
                    Plea Notification due by 9/27/2021. Plea Entry due by 10/4/2021. Signed by
                    Judge Stephanie M. Rose on 5/18/2021. (mkh) (Entered: 05/18/2021)
06/04/2021   39     Minute Entry for proceedings held before Judge Stephanie M. Rose: Motion
                    Hearing as to Justin Treanton held on 6/4/2021 re 33 . (Court Reporter Kelli
                    Mulcahy.) (kmc) (Entered: 06/04/2021)
06/11/2021   40     ELECTRONIC EXHIBITS USA Suppression Hrg Exhibits as to Justin
                    Treanton re 33 First MOTION to Suppress Statement and all evidence found as
                    a result of and based upon those statements (Attachments: # 1 Exhibit 2, # 2
                    Exhibit 2a, # 3 Exhibit 4, # 4 Exhibit 6)(Glasgow, Andrea) (Entered:
                    06/11/2021)
06/11/2021   41

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                    Sealed Document (Attachments: # 1 Exhibit 1, # 2 Exhibit 3, # 3 Exhibit 5, # 4
                    Exhibit 7, # 5 Exhibit 8, # 6 Exhibit 9)(Glasgow, Andrea) (Entered:
                    06/11/2021)
06/28/2021   42     ORDER denying 33 Defendant's Motion to Suppress. See Order for details.
                    Signed by Judge Stephanie M. Rose on 6/28/2021. (mne) (Entered: 06/28/2021)
09/15/2021   43     TEXT ORDER SETTING CHANGE OF PLEA PROCEEDING as to Justin
                    Treanton. Change of Plea Hearing set for September 21, 2021 at 09:00 AM in
                    Davenport − Room 120 − 1st Floor before Magistrate Judge Stephen B.
                    Jackson, Jr.. Signed by Magistrate Judge Stephen B. Jackson, Jr. on 9/15/2021.
                    (cmb) (Entered: 09/15/2021)
09/21/2021   44     Minute Entry for proceedings held before Magistrate Judge Stephen B. Jackson,
                    Jr. as to Justin Treanton held on 9/21/2021. Change of Plea Hearing cancelled at
                    this time. (Court Reporter SueAnn Jones.) (sml) (Main Document 44 replaced
                    and regenerated on 9/27/2021, to edit the count field.) (sml) (Entered:
                    09/21/2021)
09/21/2021   45     ORAL MOTION for Withdrawal of Attorney as to Justin Treanton. Motion
                    referred to Stephen B. Jackson, Jr. (sml) (Entered: 09/21/2021)
09/21/2021   46     TEXT ORDER granting 45 Oral Motion to Withdraw as Attorney. Murray W
                    Bell withdrawn from case as to Justin Treanton (1). The Clerk shall appoint
                    new CJA counsel for Defendant. Signed by Magistrate Judge Stephen B.
                    Jackson, Jr. on 9/21/2021. (sml) (Entered: 09/21/2021)
09/21/2021          ***CJA Attorney Appointment accepted by Attorney Jack E. Dusthimer for
                    Justin Treanton. (sml) (Entered: 09/21/2021)
09/28/2021   47     MOTION to Continue Trial and All Deadlines 30 Days Requested as to Justin
                    Treanton. Motions referred to Stephen B. Jackson, Jr. (Dusthimer, Jack)
                    (Entered: 09/28/2021)
09/29/2021   48     ORDER granting 47 Unresisted Motion to Continue Trial as to Justin Treanton.
                    Jury Trial is set for 11/29/2021 at 09:00 AM in Davenport − Room 120 − 1st
                    Floor before Judge Stephanie M. Rose. Pretrial Motion Deadline 11/1/2021.
                    Plea Notification due by 11/8/2021. Plea Entry due by 11/15/2021. Signed by
                    Judge Stephanie M. Rose on 9/29/2021. (mkh) (Entered: 09/29/2021)
09/30/2021   49     STIPULATED DISCOVERY AND PROTECTIVE ORDER as to Justin
                    Treanton. Signed by Magistrate Judge Stephen B. Jackson, Jr. on 9/30/2021.
                    (cmb) (Entered: 09/30/2021)
10/27/2021   50     TEXT ORDER SETTING CHANGE OF PLEA PROCEEDING as to Justin
                    Treanton. Change of Plea Hearing set for November 5, 2021 at 09:45 AM in
                    Davenport − Room 242 − 2nd Floor before Magistrate Judge Stephen B.
                    Jackson, Jr.. Signed by Magistrate Judge Stephen B. Jackson, Jr. on 10/27/2021.
                    (cmb) (Entered: 10/27/2021)
11/05/2021   51     Minute Entry for proceedings held before Magistrate Judge Stephen B. Jackson,
                    Jr: Change of Plea Hearing as to Justin Treanton held on 11/5/2021. Sentencing
                    is set for 2/28/2022 at 01:00 PM in Davenport − Room 120 − 1st Floor before
                    Judge Stephanie M. Rose. (Court Reporter Deb Thornburg.) (sml) (Entered:
                    11/05/2021)


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11/05/2021   52     NOTICE AND CONSENT RE ENTRY OF PLEA OF GUILTY as to Justin
                    Treanton. (sml) (Entered: 11/05/2021)
11/05/2021   53     PLEA AGREEMENT as to Justin Treanton. (sml) (Entered: 11/05/2021)
11/05/2021   54     RULE 5 ORDER as to Justin Treanton. Signed by Magistrate Judge Stephen B.
                    Jackson, Jr on 11/5/2021. (sml) (Entered: 11/05/2021)
11/05/2021   55     REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                    as to Justin Treanton by Magistrate Judge Stephen B. Jackson, Jr. Objections to
                    R&R due by 11/19/2021. Signed by Magistrate Judge Stephen B. Jackson, Jr on
                    11/5/2021. (sml) (Entered: 11/05/2021)
11/05/2021   56     ORDER Concerning Presentence Investigation and Submission of Sentencing
                    Materials as to Justin Treanton. Signed by Judge Stephanie M. Rose on
                    11/5/2021. (mkh) (Entered: 11/05/2021)
11/29/2021   57     ORDER adopting Report and Recommendations re 55 Plea of Guilty as to
                    Justin Treanton. Signed by Judge Stephanie M. Rose on 11/29/2021. (mkh)
                    (Entered: 11/29/2021)
12/17/2021   59     Preliminary MOTION for Forfeiture of Property by USA as to Justin Treanton.
                    Responses due by 12/27/2021. (Attachments: # 1 Text of Proposed
                    Order)(Gaumer, Craig) (Entered: 12/17/2021)
12/22/2021   60     PRESENTENCE INVESTIGATION REPORT DRAFT (Sealed) as to Justin
                    Treanton (Attachments: # 1 DEFENSE First Letters, # 2 GOVT First
                    Letters)(Pessman, Amy) (Entered: 12/22/2021)
12/28/2021   61     NO OBJECTION TO PRESENTENCE INVESTIGATION REPORT
                    (SEALED) 60 as to Justin Treanton. (Glasgow, Andrea) (Entered: 12/28/2021)
12/29/2021   62     ORDER granting 59 Motion for Preliminary Order of Forfeiture as to Justin
                    Treanton. Signed by Judge Stephanie M. Rose on 12/29/2021. (mkh) (Entered:
                    12/29/2021)
02/03/2022   63     OBJECTION TO PRESENTENCE INVESTIGATION REPORT (SEALED)
                    60 as to Justin Treanton. (Dusthimer, Jack) (Entered: 02/03/2022)
02/18/2022   64     MOTION for Leave to File under Seal by USA as to Justin Treanton. Motions
                    referred to Stephen B. Jackson, Jr. (Glasgow, Andrea) (Entered: 02/18/2022)
02/18/2022   65     FINAL PRESENTENCE INVESTIGATION REPORT (Sealed) as to Justin
                    Treanton (Peterson, Laura) (Entered: 02/18/2022)
02/18/2022   66     TEXT ORDER granting 64 Motion for Leave to File Under Seal as to Justin
                    Treanton. The Government is hereby granted leave to file under seal its
                    sentencing memorandum. Signed by Chief Judge Stephanie M. Rose on
                    2/18/2022. (mkh) (Entered: 02/18/2022)
02/18/2022   67     *SEALED* SENTENCING MEMORANDUM/BRIEF by USA as to Justin
                    Treanton (Glasgow, Andrea) (Entered: 02/18/2022)
02/25/2022   68     MOTION for Leave to File under Seal Sentencing Memorandum as to Justin
                    Treanton. Motions referred to Stephen B. Jackson, Jr. (Dusthimer, Jack)
                    (Entered: 02/25/2022)



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02/25/2022   69     TEXT ORDER granting 68 Defendant's Motion to File Sentencing Memo
                    Under Seal as to Justin Treanton. Defendant is hereby granted leave to file
                    under seal the sentencing memoradum specified in the motion. Signed by
                    Magistrate Judge Stephen B. Jackson, Jr. on 2/25/2022. (cmb) (Entered:
                    02/25/2022)
02/25/2022   70     *SEALED* SENTENCING MEMORANDUM/BRIEF by Justin Treanton
                    (Dusthimer, Jack) (Entered: 02/25/2022)
02/28/2022   71     Sealed Document as to Justin Treanton − Email correspondence with the Court.
                    (mkh) (Entered: 02/28/2022)
02/28/2022   72     BRIEF by USA as to Justin Treanton (Glasgow, Andrea) (Entered: 02/28/2022)
02/28/2022   73     Minute Entry for proceedings held before Chief Judge Stephanie M. Rose:
                    Sentencing held on 2/28/2022 for Justin Treanton (1), 600 months of
                    incarceration, consisting of 360 months as to Count 1 and 240 months as to
                    Count 4, to be served consecutively. A lifetime term of supervised release to
                    follow as to each of Counts 1 and 4, to be served concurrently. $200 Special
                    Assessment ($100 per count). Restitution in the amount of $6,000. Counts 2 and
                    3 are Dismissed on Government's Motion. (Court Reporter Kelli Mulcahy.)
                    (kmc) (Entered: 02/28/2022)
02/28/2022   74     JUDGMENT IN A CRIMINAL CASE as to Justin Treanton (1), 600 months of
                    incarceration, consisting of 360 months as to Count 1 and 240 months as to
                    Count 4, to be served consecutively. A lifetime term of supervised release to
                    follow as to each of Counts 1 and 4, to be served concurrently. $200 Special
                    Assessment ($100 per count). Restitution in the amount of $6,000. Counts 2 and
                    3 are Dismissed on Government's Motion. Signed by Chief Judge Stephanie M.
                    Rose on 2/28/2022. (kmc) (Entered: 03/01/2022)
02/28/2022   75     Sealed Judgment as to Justin Treanton. (kmc) (Entered: 03/01/2022)
02/28/2022   76     Sealed Restitution List as to Justin Treanton. (kmc) (Entered: 03/01/2022)
03/07/2022   77     NOTICE OF APPEAL by Justin Treanton re 74 Judgment,,. (Dusthimer, Jack)
                    (Entered: 03/07/2022)
03/07/2022   78     NOTIFICATION OF APPEAL and NOA Supplement by District Court Clerk
                    to USCA as to Justin Treanton re 77 Notice of Appeal − Final Judgment filed
                    on 3/7/2022 (bp) (Entered: 03/07/2022)




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                  DAVENPORT DIVISION


UNITED STATES OF AMERICA,                        )     Case No. 3:20-cr-00093-SMR-SBJ
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )     ORDER ON DEFENDANT’S MOTION
                                                 )     TO SUPPRESS
JUSTIN TREANTON,                                 )
                                                 )
                                                 )
       Defendant.                                )


       Before the Court is Defendant Justin Treanton’s Motion to Suppress. [ECF No. 33].

Defendant seeks exclusion of evidence obtained during a police interview. He argues that the

interview was a custodial interrogation and because he was not read his Miranda1 rights, his

statements and consent to search two cellular phones were involuntary and coerced.         The

Government resists the Motion, contending that Defendant was not in custody at the time and his

statements and consent were both voluntary and uncoerced. For the reasons described below,

Defendant’s Motion to Suppress is DENIED.

                                       I. BACKGROUND

       Agents with the United States Department of Homeland Security Investigations (“Agents”)

received a tip from an undercover officer out of New Zealand regarding activity on the social

media platform “RIOT.IM.” The officer reported that he observed that an individual going by the

username “underdawgy” had posted video files and a link in a public chat room. The room was

named for a category of child pornography. The link posted by underdawgy contained child




       1
            Miranda v. Arizona, 384 U.S. 436 (1966).
                                                1


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pornography. One of the videos in the link contained a partial image of a male’s face. The New

Zealand officer then initiated contact with underdawgy, who invited the agent to a private chat

room where more images and videos of child pornography were shared by the individual.

Underdawgy told the officer that his four-year-old daughter was depicted in the files. When asked

how long he had been “playing” with his daughter, underdawgy responded “[a]ltogether about a

year.” Underdawgy told the officer he was a 35-year-old male from the United States. The

location of underdawgy was soon traced to a home in Bettendorf, Iowa. Agents then requested

driver’s license and vehicle registration information for the Bettendorf address and Defendant was

among those identified with the address. The photograph on Defendant’s driver’s license, along

with a previous arrest photograph reviewed by the Agents, bore similarities to the partial face seen

in the video sent by New Zealand authorities.

       The Agents executed a search warrant at the Bettendorf address on January 30, 2020.

There, the Agents encountered members of Defendant’s family including his mother, step-father,

and half-brother. Also present was a four-year-old girl identified as Defendant’s daughter. The

Agents learned that Defendant had a bed in the garage but did not regularly stay at the home and

he was not present at the time. Defendant’s step-father was shown an image of the face appearing

in the video and said he believed it was Defendant.

       After further investigation, the Agents determined that Defendant may be staying at a home

elsewhere in Bettendorf. When contacted, the homeowner denied that Defendant was at the home

but told the Agents they could search the garage for him. Upon arrival, they entered the garage

through the home, encountering garbage and boxes, stacked nearly to the ceiling. Agents saw

Defendant in the middle of the debris and instructed him to come toward them. As Defendant was

climbing over the boxes, a different group of Agents opened the bay door and observed him

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climbing in the opposite direction. After inadvertently providing Defendant with conflicting

instructions about whether to crawl forward over the debris, or backward over the debris, causing

Defendant to stall on top of a five-feet tall pile of debris, one of the bay door agents grabbed

Defendant, pulling him off the boxes and he landed hard on the ice outside the garage. As he lay

on the ground, Defendant held his hands underneath his body and refused to release his hands so

he could be handcuffed. After Agents said they saw an object in Defendant’s hand, one of them

struck him in the face with a closed fist in an attempt to get Defendant to release his hands. Agents

searched Defendant’s pockets and discovered two pairs of underwear, one in each pocket.

Defendant told them one pair belonged to his aunt and the other to his daughter. He was then stood

up, his handcuffs were removed, and he was told he was not under arrest. Two agents with the

Iowa Division of Criminal Investigation (“DCI”) then immediately walked Defendant to a vehicle

located a short distance from the garage where he was interviewed.

       Once in the vehicle, the DCI agents informed Defendant he was not under arrest multiple

times. [ECF No. 41-1 at 0:35; 3:56] (sealed) (Gov’t Exhibit 1). He was also told that he was free

to go whenever he wished, id. at 4:02, and told he could choose to answer, or not answer, any

questions he was asked, id. at 2:14; 4:01. Defendant proceeded to speak with the DCI agents for

over 90 minutes, answering their questions about the photographs and videos under investigation.

Defendant signed a written consent form to allow law enforcement to search two cellular phones

in his possession. Near the end of the interview, law enforcement was notified that the county

attorney had decided to arrest Defendant on state criminal charges. Defendant was then read his

Miranda rights before being transported to jail.

       Defendant was indicted by a grand jury on September 9, 2020, charging him with violations

of 18 U.S.C. § § 2251 and 2252, for production, distribution, and possession of child pornography.

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[ECF No. 2]. He moves to suppress the statements he made to the DCI agents during his interview

and the evidence obtained from the search of the phones. Defendant asserts he was in custody at

the time of the interview and his statements and consent to search were involuntary and coerced.

                                             II. ANALYSIS

          Defendant claims that his interview with DCI agents in the vehicle was a custodial

interrogation. It is undisputed that Defendant was not read his Miranda rights until long after the

interview had commenced, and he seeks to exclude all statements and his consent to search as a

result.

          Prior to a custodial interrogation a suspect must be advised: (1) that he has a right to remain

silent, (2) that anything he might say may be used in evidence against him, (3) that he has a right

to the presence of an attorney, and (4) that if he cannot afford counsel he may have counsel

appointed. Miranda, 384 U.S. at 444, 471. Importantly, “[s]eizure is a necessary prerequisite to

Miranda.” United States v. Parker, 993 F.3d 595, 601 (8th Cir. 2021) (citation omitted). To that

point, “[n]ot all interactions between law enforcement officers and citizens amount to seizures.”

United States v. Cook, 842 F.3d 597, 600 (8th Cir. 2016). The inquiry into whether an interaction

between law enforcement and a citizen is a custodial interrogation is an objective one. See

Stansbury v. California, 511 U.S. 318, 323 (1994) (determining if a suspect is in custody is based

on the objective circumstances of the interrogation, not on subjective views by either law

enforcement or the suspect).

          “The ‘ultimate question in determining whether a person is in “custody” for purposes of

Miranda is whether there is a formal arrest or restraint on freedom of movement of the degree

associated with formal arrest.’” United States v. Williams, 760 F.3d 811, 814 (8th Cir. 2014)

(citation omitted). The core of the inquiry into whether a suspect is in custody is “whether, given

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the totality of the circumstances, a reasonable person would have felt at liberty to terminate the

interrogation and leave or cause the agents to leave.” United States v. Laurita, 821 F.3d 1020, 1024

(8th Cir. 2016) (citation omitted); United States v. Perez-Sosa, 164 F.3d 1082, 1084 (8th Cir. 1998)

(“A consensual encounter becomes a seizure when a reasonable person in the same circumstances

would not feel free to leave.”). An interaction between law enforcement and a suspect can also

begin as a consensual encounter but be rendered unlawful by the length and manner of the

continued detention. See United States v. Maltais, 403 F.3d 550, 557 n.5 (8th Cir. 2005) (collecting

cases finding detentions unlawful based on their circumstances and length).

       Evidence obtained in violation of the United States Constitution is subject to the

exclusionary rule, in both state and federal court. See Mapp v. Ohio, 367 U.S. 643, 655 (1961);

Weeks v. United States, 232 U.S. 383, 398 (1914). Failure to provide Miranda warnings during a

custodial interrogation violates a criminal defendant’s Fifth Amendment privilege against self-

incrimination and statements given during the interrogation are inadmissible against the defendant.

Miranda, 384 U.S. at 492. The same goes for a warrantless search without a judicially recognized

exception—such as voluntary consent—which violates a criminal defendant’s Fourth Amendment

right to be free from unreasonable searches and seizures. See United States v. Riesselman,

646 F.3d 1072, 1078 (8th Cir. 2011) (“Evidence obtained in violation of the Fourth

Amendment . . . ‘cannot be used in a criminal proceeding against the victim of the illegal search

and seizure.’” (citation omitted)). The Fourth Amendment’s warrant requirement extends to

cellular phones. Riley v. California, 573 U.S. 373, 386 (2014).

       In his Motion, Defendant argues that his statements and consent were involuntary and

coerced. He supports his contention by pointing to the punch he received from an agent during

the struggle outside of the garage, that he was initially handcuffed prior to being led to the vehicle

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for the interview, and the officers involved in the use of force on him were present outside the

vehicle during the interview.2 Defendant also relies on the fact that one officer initially told him

that he was under arrest.

         Defendant spoke with the DCI agents in the vehicle for approximately 90 minutes prior to

being told he was under arrest and read his Miranda rights. During the course of the interview,

Defendant signed a written consent to search both of his phones. [ECF Nos. 40-3; 41-1 at 49:25;

59:25]. He was told by the DCI agents he did not have to answer questions multiple times, that he

was free to go, and that he was not under arrest. [ECF No. 41-1 at 0:35; 2:14; 3:56; 4:01; 4:02].

The tone of the interview was cordial and friendly. Defendant spoke with the DCI agents for well

over an hour, answering their questions, and offering no outward indication of an unwillingness to

continue the interview. No threats were issued. No harsh language was used by the DCI agents.

Voices were never raised by the DCI agents or Defendant. Defendant even complimented the DCI

agents telling them they were “honest.” Id. at 1:01:42; 1:15:45. After being told he was formally

under arrest, Defendant was allowed to smoke a cigarette prior to being transported to jail, to which

he told the DCI agents they were “nice.” Id. at 1:19:40.

         There is nothing to indicate that Defendant’s “‘will was overborne’ by the circumstances

surrounding” his interview. Dickerson v. United States, 530 U.S. 428, 434 (2000) (quoting

Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973)). The “totality of all the surrounding

circumstances,” including the environment of the interview and the characteristics of Defendant,

are insufficient to indicate that the statements given to the DCI agents were coerced or compelled.

Id.




         The agent who punched Defendant while he was on the ground immediately left the scene
         2

after Defendant was placed in the vehicle with the DCI agents.
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       Likewise, as it pertains to Defendant’s consent to search both of the cellular phones.

Defendant signed a written consent to search the phones. In fact, one of the phones, a red iPhone,

was dropped by Defendant during the initial contact in the garage and he told his interviewers

where they could find it prior to signing the consent form. He also provided his passcode to allow

access to the phone.

       In total, Defendant’s will was not overborne during his interview with the DCI agents in

the vehicle. He was told on multiple occasions he did not need to answer questions, could leave

if he so desired, and was not under arrest. Defendant interacted with the agents in a friendly

manner, engaging in small talk and volunteering information even when not asked. There was no

violation of either his Fourth or Fifth Amendment rights during the interview.

                                      III. CONCLUSION

       For the reasons described above, Defendant’s Motion to Suppress, [ECF No. 33], is

DENIED.

       IT IS SO ORDERED.

       Dated this 28th day of June, 2021.

                                                     _______________________________
                                                     STEPHANIE M. ROSE, JUDGE
                                                     UNITED STATES DISTRICT COURT




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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
                         vs.                   )    CASE NO. 3:20-cr-00093
                                               )
JUSTIN TREANTON,                               )
                                               )
                       Defendant.              )

       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

           The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered a

plea of guilty to Count 1 and Count 4 of the Indictment pursuant to Federal Rule of Criminal

Procedure 11(a)(2). After cautioning and examining the Defendant under oath concerning each of

the subjects mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary as to

the counts, and that the offenses charged are supported by an independent factual basis concerning

each of the essential elements of such offenses. Defendant understands and agrees to be bound by the

terms of the Plea Agreement. I further determine the United States of America has established the

requisite nexus between the offenses and the Red iPhone it seeks in forfeiture. I, therefore,

recommend that the plea of guilty be accepted, that a pre-sentence investigation and report be

prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.



________November 5, 2021_________              __________________________________________
Date                                                  STEPHEN B. JACKSON, JR.
                                                  UNITED STATES MAGISTRATE JUDGE

                                               NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).



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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                            )
                                                     )       NO. 3:20-cr-00093-SMR-SBJ
               Plaintiff,                            )
                                                     )       ORDER ACCEPTING
 vs.                                                 )       MAGISTRATE JUDGE’S REPORT
                                                     )       AND RECOMMENDATION
                                                     )       REGARDING DEFENDANT’S
JUSTIN TREANTON,                                     )       GUILTY PLEA
                                                     )
               Defendant.                            )

                            I. INTRODUCTION AND BACKGROUND

       On September 9, 2020, an Indictment was returned against Defendant Justin Treanton,

charging him in Counts 1 and 2 with production of child pornography, in violation of Title 18,

United States Code, Sections 2251(a) and 2251(e). Count 3 charged receiving and distributing

child pornography, in violation of Title 18, United States Code, Sections 2252(a)(2), 2252(b)(1),

and 2256. Count 4 charged possession of child pornography, including minors who had not

attained 12 years of age, in violation of Title 18, United States Code, Sections 2252(a)(4)(B),

2252(b)(2), and 2256(2).

       On November 5, 2021, Defendant appeared before United States Magistrate Judge Stephen

B. Jackson, Jr. and entered a plea of guilty to Counts 1 and 4 of the Indictment. On this same date,

Judge Jackson filed a Report and Recommendation in which he recommends that Defendant’s

guilty plea be accepted; and he further determines the United States of America had established

the requisite nexus between the offense and the property it seeks in forfeiture. No objections to

Judge Jackson’s Report and Recommendation were filed. The Court, therefore, undertakes the

necessary review of Judge Jackson’s recommendation to accept Defendant’s plea in this case.




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                                         II. ANALYSIS

        Pursuant to statute, this Court’s standard of review for a magistrate judge’s Report and

Recommendation is as follows:

        A judge of the court shall make a de novo determination of those portions of the
        report or specified proposed findings or recommendations to which objection is
        made. A judge of the court may accept, reject, or modify, in whole or in part, the
        findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). In this case, no objections have been filed, and it appears to the Court upon

review of Judge Jackson’s findings and conclusions, that there is no ground to reject or modify

them.    Therefore, the Court accepts Judge Jackson’s Report and Recommendation of

November 5, 2021 [ECF No. 55], and accepts Defendant’s plea of guilty in this case to Counts 1

and 4 of the Indictment.

        IT IS SO ORDERED.

        Dated this 29th day of November, 2021.




                                                 2




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
v1                     Sheet 2 — Imprisonment

                                                                                                                  Judgment Page: 2 of 8
 DEFENDANT: Justin Treanton
 CASE NUMBER: 3:20-CR-00093-001


                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
     600 months, consisting of 360 months as to Count One and 240 months as to Count Four of the Indictment filed on September 9, 2020, to
     be served consecutively.



       ✔
       G    The court makes the following recommendations to the Bureau of Prisons:

     That the defendant be placed at FCI Milan if commensurate with his security and classification needs.



       ✔ The defendant is remanded to the custody of the United States Marshal.
       G

       G The defendant shall surrender to the United States Marshal for this district:
            G at                                     G a m.      G p m.       on

            G as notified by the United States Marshal.

       G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before                  on

            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                         to

 a                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL




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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF IOWA



                    Notice of Appeal Supplement

           USA
Case Name: _____________________________     Justin Treanton
                                         vs. ___________________________________
                            3:20-cr-00093-SMR-SBJ-1
District Court Case Number: ______________________________________________________
                                         ✔ Pending ____ Government Appeal ____
Appeal Fee (505.00) Status: Pd ____ IFP ____
                    ✔ CJA ____
Counsel: Appointed ____    ✔ Retained ____ Pro Se ____ Pro Bono ____ FPD ____
*Reminder: CJA appointed counsel will need to complete their AUTH 24 form thru CJA eVoucher.

                          ✔ Pro Se ____
Appeal filed by: Counsel ____
Any reason why counsel should not be appointed: ______________________________________

                                                                  ✔
Certificate of Appealability: Denied ____ Granted ____ Not Issue ____

                                            ✔
Pending post Judgment motions: Yes ____ No ____
If so, type of motion(s) and docket entry number:
______________________________________________________________________________

                                        ✔
High Public Interest Case: Yes ____ No ____

                                                     ✔
Simultaneous Opinion release Requested: Yes ____ No ____

                                     ✔
Trial Held: Bench ____ Jury ____ No ____

                     ✔ No ____
Court Reporter: Yes ____
                 Kelli Mulcahy and Deb Thornburg
Reporter’s Name: _______________________________________________________________
                                                                ✔
Appealing: Order prior to final judgment ___ or final judgment ____




***File this form with the Notice of Appeal***




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